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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

BADAR KHAN SURI,
Petitioner,
v.

DONALD TRUMP, in his official capacity
as President of the United States; RUSSELL
HOTT, in his official capacity as Field
Office Director of Washington, Immigration
and Customs Enforcement; JEFFREY
CRAWFORD, in his official capacity as
Warden of Farmville Detention Center;
TODD LYONS, Acting Director, U.S.
Immigration and Customs Enforcement,
KRISTI NOEM, in her official capacity as
Secretary of the United States Department of
Homeland Security, MARCO RUBIO, in his
official capacity as Secretary of State;
PAMELA BONDI, in her official capacity
as Attorney General, U.S. Department of
Justice,

Case No. 1:25-cv-480 (PTG/WBP)

Respondents.

Ne Nae ee ae Nee Ne Nie Nene Nem” Neng Ngee Nee ee Nema Nee Nee nee See Nine Meee ee ee ee” eee ee”

ORDER

This matter comes before the Court on Petitioner’s Motion to Compel Respondents to
Return Petitioner to this District (Dkt. 5) and Petitioner’s Motion for Release on Bond (Dkt. 20).
On May 14, 2025, the Court heard argument. For the reasons stated in open court, it is hereby

ORDERED that Petitioner’s Motion for Release on Bond (Dkt. 20) is GRANTED and
Petitioner’s Motion to Compel Respondents to Return Petitioner to this District (Dkt. 5) is

DENIED as moot; it is further
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ORDERED that Petitioner Dr. Khan Suri is to be immediately released on his personal
recognizance during the pendency of his habeas proceedings subject to the following conditions:
(1) Petitioner will reside in Virginia; (2) Petitioner will attend all court hearings in this case in
person unless excused by order of the Court; and (3) Petitioner will participate in his removal
proceedings. Petitioner is not required to submit to any GPS monitoring; it is further

ORDERED that Respondents shall not attempt to re-detain Petitioner without providing
48-hours notice to the Court and Petitioner’s counsel; and it is further

ORDERED that Respondents’ request to stay this Court’s decision pending appeal is

DENIED.

Entered this 14th day of May, 2025
Alexandria, Virginia

Patricia Tolliver Giles
United States District Judge
